




Affirmed and Memorandum Opinion filed December 23, 2008








Affirmed
and Memorandum Opinion filed December 23, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00142-CR

____________

&nbsp;

GEORGE CORRAEL SNEED, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 232nd District
Court

Harris County, Texas

Trial Court Cause No.
1104456

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A jury
convicted appellant of aggravated robbery.&nbsp; On February 13, 2008, the trial
court sentenced appellant to confinement for seventy years in the Institutional
Division of the Texas Department of Criminal Justice and assessed a fine of
$2,500.&nbsp; Appellant filed a timely notice of appeal.








Appellant=s appointed counsel filed a brief in
which she concludes the appeal is wholly frivolous and without merit. The brief
meets the requirement of Anders v. California, 386 U.S. 738, 87 S.Ct.
1396 (1967), presenting a professional evaluation of the record demonstrating
why there are no arguable grounds to be advanced.&nbsp; See High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy
of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; At appellant=s request, the record was provided to
him.&nbsp; On October 6, 2008, appellant filed a pro se response to counsel=s brief.

We have
carefully reviewed the record, counsel=s brief, and appellant=s response, and agree the appeal is
wholly frivolous and without merit.&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.&nbsp; We are not to address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review.&nbsp; See Bledsoe v. State, 178 S.W.3d 824, 827-28 (Tex.
Crim. App. 2005).&nbsp; 

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
December 23, 2008.

Panel consists of Chief Justice Hedges and Justices
Anderson and Seymore.&nbsp; 

Do Not Publish C Tex. R. App. P.
47.2(b).





